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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

   BEN DAVIS,

          Plaintiff,

   v.                                              CASE NO. 8:23-cv-2333-SDM-AEP

   CR FITNESS HOLDINGS, LLC,

         Defendant.
   ___________________________________/

                                            ORDER

          1.     The parties must conform to the deadlines proposed in the case man-

   agement report.

          2.     The parties must adhere to both the pre-trial meeting and pre-trial state-

   ment requirements of the Local Rules and to the pre-trial disclosure requirements in

   the Federal Rules of Civil Procedure.

          3.     Either a motion to amend a pleading or a motion to continue a hearing,

   the pre-trial conference, or the trial is distinctly disfavored after issuance of this order.

          4.     The parties must serve no more than twenty-five interrogatories, includ-

   ing sub-parts.

          5.     The pre-trial conference will occur before Magistrate Judge Anthony

   Porcelli in Courtroom 10A, United States Courthouse, 801 North Florida Avenue,

   Tampa, on NOVEMBER 14, 2025, at 10:00 AM.
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               ANY DISPUTE ABOUT DISCOVERY, THE WITNESS
               LIST, OR THE EXHIBIT LIST REQUIRES JUDICIAL
               RESOLUTION AT OR BEFORE THE PRE-TRIAL
               CONFERENCE—NOT AT TRIAL. OTHERWISE, AB-
               SENT STIPULATION BY THE PARTIES, ONLY A
               WITNESS ON THE WITNESS LIST CAN TESTIFY AT
               TRIAL AND ONLY AN EXHIBIT ON THE EXHIBIT
               LIST IS ADMISSIBLE AT TRIAL. THE PARTIES MAY
               AGREE ON ANY DISCOVERY MATTER, BUT—UN-
               LESS ADDRESSED AT THE PRE-TRIAL CONFER-
               ENCE—EACH PARTY ASSUMES THE RISK OF
               NON-COMPLIANCE BY THE OTHER PARTY.

         6.    Lead trial counsel for each party must attend the pre-trial conference.

         7.    A jury trial will occur in Courtroom 15A, United States Courthouse,

   801 North Florida Avenue, Tampa, during the DECEMBER 2025 trial term.

         8.    At least five days before the monthly trial term, the parties must file:

               (a)   a trial brief with citations of authority and with ar-
                     gument of the disputed issues likely to arise at trial;

               (b)   a concise (preferably one paragraph) joint statement
                     of the action for presentation to the venire;

               (c)   proposed jury instruction;

               (d)   proposed verdict forms; and

               (e)   proposed voir dire.

         ORDERED in Tampa, Florida, on June 20, 2024.




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